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26   for Encompass Health from her personal phone to my work phone of patient information that

27   was a picture of her work computer with the patient information on it. I immediately reported

28   the incident.

29   On July 22nd some correspondence was sent that identified that Kristin Beck, DPT had signed a

30   prescreening form under Amanda Longoria's name and that the dates that was listed as

31   her evaluation at home was dates that the patient was admitted into St. Luke's hospital - July

32   17, 2021. This incident was reported to Hazel, Reggie, and Ryan both senior liaisons and the

33   business development director.

34   In approximately August Michael Tran was hired - a non-clinician and was working for the

35   St. Luke's system and assigned to his account that he was and is an active employee of. Michael

36   on 10/16/2021 sent Amanda a message while at his employer St. Luke's that he had identified a

37   patient with Medicare and wanted Amanda to see the patient without consent from the patient

38   or the case management system. Ryan was notified.

39   On 08/16/2021- a black co- worker sent her status of account and a crackhead (Dave Chappell)

40   meme was sent in the group to congratulate her on her accomplishments.

41   On 08/16/2021 Michael Tran Received 5 referrals and at the time only 1 was noted to have

42   been sent by a case manager - this was reported to Reginald Jones. Michael stated that he was

43   creating referrals prior to receiving them to get his credit.

44   Michael Tran was hired and as a non-clinician it was identified per his accounts that he makes

45   $90K or more a year and as such more than more tenured experienced females on the team

46   and, without a license which is needed to complete the prescreening process.

47   Dates in July, August, September, October, and November when Kristin Beck, DPT was receiving

48   income from Encompass Health while on the time clock for St. Luke's and retrieving

49   unauthorized patient information for Encompass Health's Benefit. Which is a dual use of

50   Medicare dollars from both places of employment and Ryan was notified

51

52   Dates in August, September and October when Michael Tran was on the clock for Encompass



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53   Health as well as St. Luke's and retrieving unauthorized patient information for Encompass

54   Health's Benefit. Also, a dual use with Ryan being notified.

55   In approximately August Ryan rated me lower than my performance evaluation and refused to

56   contact my former BOD to evaluate me correctly.

57   In approximately September 2021 Michael Tran sent the Pearland, TX screenshots of his work

58   computer with him using his St. Luke's log in to obtain unauthorized patient information and

59   sent the screen shots via email to Brenda Hudson and the Pearland, Tx admissions team.

60

61   Approximately July 2021 Ryan Jacobson stated that the policy of Encompass Health
62   was that
63   no employees were allowed to work from home or outside of their account. From
64   approximately
65   July 1st - December 3rd 2021 employees were allowed to work from home and outside
66   of their

67   accounts.
68   After the reports of the unauthorized access to patient information and concerns I was

69   retaliated against and placed on a Personal Improvement plan which hindered me from leaving

70   the team I was unaware I was on this plan. Upon asking HR they stated they initiate it but was

71   unable to provide me a reason that I was on the plan.

72   Ryan was notified in approximately late October that he was creating a hostile environment by

73   having me manage the weekend in a peer-to-peer environment.

74   Ryan advised again on approximately November 9th of the fraudulent use of time,

75   misappropriation of Medicare/Medicaid dollars and theft of company time, unauthorized

76   access to patient information from the previous weekend at our Monday morning meeting. On

77   approximately November 10th, Ryan our business development director informed Amanda

78   Longoria roommate of Kristin Beck one of the accused and was both who are employed and

79   2 of the 3 assigned to the St. Luke's account in The Medical center

80   Amanda advised Kristin of my allegations as told by our supervisor and Kristin was hysterical




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81    calling other employees on the team and proceeded to call me explicative names. This occurred

82    on Wednesday November 10th.

83    Following my meeting with Ryan my expense reports for mileage and other payable expenses

84    were denied by our regional vice president and Ryan requested a meeting and stated that we
85    do

 86   things differently and that my travel wasn't payable even though it had been paid previously.

87

 88   On November 12 I meet with Ryan again regarding follow up on claims of time, abuse,

 89   misuse of company access and information and the allegations of fraud and corporate level

 90   fraud - at the time I was unaware of the potentially dangerous situation with Kristin being

91    angry and hysterical regarding my report. Ryan stated that his meeting was with Kristin on

92    November 15th and he hadn't met with her. I also stated that prescreen that were being signed

 93   by some teammates and asked of clinicians to sign were illegal certifications that the patient

94    meet criteria for an inpatient rehabilitation stay.

 95

 96   On November 12 I informed Ryan that email only communication would be best due to his

 97   inability to keep confidential information and creating a potentially dangerous situation with a

 98   known bipolar individual.

 99   On November 13 I received an email from Kristin Beck with her statement that she needs to

100   keep her work with Encompass separate from her work with St. Luke's and Ryan responded
101   that

102   she needed to work only on the weekends.

103   On approximately November 15 Ryan met with Kristin Beck and she advised a co-worker that

104   Ryan stated she can work still while she is on the clock for St. Luke's and assist the team with

105   any information that is needed.

106   On November 161 met with HR and reported HIPPA, fraud, time, waste, and abuse claims and

107   was advised to send a statement in writing. I reported that I felt it was a hostile environment




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